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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA, et a],..
                                                   Civil Action No. 24-cv-4055 (JXN)(LDW)
                       Plaintiffs,

        V.
                                                                    ORDER

 APPLE, INC.,

                       Defendant.



NEALS, District Judge:

       This matter comes before the Court on Defendant Apple, Inc.'s ("Apple") motion to


dismiss Plaintiffs United States of America and the Attorney Generals of twenty States'

(collectively, "Plaintiffs") Amended Complaint (ECF No. 51) ("Amended Complaint" or "Am.

CompL") for failure to state a claim, pursuant to Federal Rule of Civil Procedure 12(b)(6). (ECF

No. 86). Jurisdiction is proper pursuant to 28 U.S.C. §§ 1331, 1337(a). Venue is proper pursuant

to 28 U.S.C. § 1391 and Section 12 of the Clayton Act, 15 U.S.C. § 22. The Court has carefully

considered the parties' submissions, the information presented during the Technology Tutorial on


November 6,2024 (ECF No. 200), and the arguments made during the oral argument on November

20, 2024 (ECF No. 207).

       For the reasons set forth in the accompanying Opinion,


       IT IS on this 30th day of June, 2025,

       ORDERED that Apple's motion to dismiss (ECF No. 86) is DENIED.




                                                                          IERNEALS
                                                                          )istrict Judge
